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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO: 22-CV-81294-AMC

  DONALD J. TRUMP,

        Plaintiff,

        v.

  UNITED STATES OF AMERICA,

        Defendant.
  _______________________________/

                      DEFENDANT’S NOTICE OF STRIKING DE #154

         The United States of America, through the undersigned attorneys and pursuant to the

  Clerk’s instructions in Docket Entry (DE) #156, hereby strikes DE #154 and will proceed to re-

  submit the Notice of Filing of Joint Supplement to Log of Disputes.

                                              Respectfully submitted,

                                              JUAN ANTONIO GONZALEZ
                                              UNITED STATES ATTORNEY


                                          By: /s/Anthony W. Lacosta
                                              Anthony W. Lacosta
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                                 CERTIFICATE OF SERVICE
          I HEREBY CERTFIY that on October 24, 2022, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify a courtesy copy was delivered
  to the Special Master and Plaintiff’s counsel on the same date.


                                               /s/Anthony W. Lacosta
                                               Anthony W. Lacosta
                                               Managing Assistant United States Attorney - WPB
